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                                                                                                                Tiki Brown
                                                      EXHIBIT A                                        Clerk of State Court
                                                                                                  Clayton County, Georgia
                                                                                                      Waukecia Lawrence

                               IN THE STATE COURT OF CLAYTON COUNTY
                                          STATE OF GEORGIA



             Marlon Brown,



                             Plaintiff,

              vs.
                                                                  CIVIL ACTION FILE NO.: 2020CV02079
             Patrick David Fluellen, in
             his individual capacity;
             Sheriff Victor Hill,
             in his official capacity as
             Sheriff for Clayton
             County


                             Defendants.



                                           COMPLAINT FOR DAMAGES

                    Plaintiff Marlon Brown files this Complaint against the above-named

            Defendants and in support thereof states as follows:

                                                  INTRODUCTION

                    “Don’t promote yourself as a country of constitutionality and compassion if you

            honestly believe that putting people in [jail] or prison and treating them like animals

            is justified.”

            ---Bernard B. Kerik


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                    On or about June 16, 2017, Marlon Brown (hereinafter, “Plaintiff or Mr.

             Brown”) was violently shoved into a steel elevator while his hands were cuffed, and

             legs were shackled by Deputy Patrick Fluellen (hereinafter, “Defendant Fluellen”)

             of the Clayton County Sheriff’s Office ( hereinafter, “CCSO”). As a result, Mr.

             Brown sustained visible lacerations to his face and lips. Additionally, Mr. Brown

             sustained several chipped and cracked teeth. Despite there being direct video

             evidence of the incident, CCSO concluded that Defendant Fluellen’s actions did not

             violate any CCSO policies or procedures. However, not until the video incident went

             viral on social media, several months later, was Defendant Fluellen placed on

             administrative leave for his actions against Mr. Brown. Further, after an

             investigation by the Georgia Bureau of Investigation (hereinafter, “GBI”),

             Defendant Fluellen was charged with two felonies, Aggravated Battery and

             Violation of Oath of Office and subsequently arrested. Mr. Brown sustained

             permanent scarring and injuries as a result of Defendant Fluellen’s malicious and

             sadistic acts towards him. Mr. Brown also suffers from severe mental anguish and

             severe emotional distress.

                    The Plaintiff seeks compensatory and punitive damages.


             TRIAL BY JURY IS DEMANDED.




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                                                    VENUE

                                                        1.

                    Venue is proper in Clayton County, Georgia under O.C.G.A. 9-10-30.

                                                   PARTIES

                                                        2.

                    At all times relevant hereto, Plaintiff Marlon Brown was a resident of the State

             of Georgia and a citizen of the United States of America.


                                                        3.

                    At all times relevant hereto, Defendant Patrick David Fluellen was a citizen

             of the United States and a resident of the State of Georgia and was acting under color

             of state law in his capacity as a law enforcement officer employed by the Clayton

             County Sheriff’s Office. Defendant Fluellen is sued in his individual capacity.

                                                        4.

                    Defendant Victor Hill, the CCSO’s Sheriff (“Defendant Sheriff”) is a resident

             of the State of Georgia, Thus, the Defendant Sheriff is subject to the venue and

             jurisdiction of this Court. Defendant Sheriff is sued in his official capacity.




                                          FACTUAL BACKGROUND




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                                                       5.

                    On or about June 16, 2017, Plaintiff Marlon Brown was an inmate in the care

             and custody of the Clayton County Sheriff’s Office and the Clayton County Jail.


                                                       6.

                    On the aforementioned date, Mr. Brown was transported from the Clayton

             County Jail to the Clayton County Courthouse for a scheduled hearing.


                                                       7.

                    Mr. Brown waited several hours and was eventually told that he would not be

             seen by a Judge. An unknown female jailer requested Mr. Brown stand. However,

             Mr. Brown refused out of frustration; and, at that time, the unknown female jailer

             requested Defendant Fluellen to intervene.



                                                       8.

                    Defendant Fluellen told Mr. Brown to walk towards the elevator to be returned

             to the jail and Mr. Brown complied.




                                                       9.




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                      As Mr. Brown was trying to enter the elevator, Defendant Fluellen lifted a

             defenseless and helpless Mr. Brown from the ground and threw him into the open

             elevator causing Mr. Brown to strike the rear of the steel elevator face first. Mr.

             Brown was unable to brace for impact due to his hands being cuffed and shackles on

             his ankles.

                                                       10.

                      Immediately after throwing Mr. Brown into the steel elevator door, Defendant

             Fluellen pointed his taser at Mr. Brown while Mr. Brown was handcuffed, dazed,

             and injured. Mr. Brown posed no threat to Defendant Fluellen.


                                                       11.

                      Mr. Brown was transported to the medical floor where he received treatment

             for lacerations to his face, lips, ankles, and wrists. Mr. Brown also complained of

             back and neck pain. Additionally, Mr. Brown sustained several chipped and cracked

             teeth.


                                                       12.

                      For more than two weeks, Mr. Brown’s mother and sister attempted to visit

             him. However, they were repeatedly denied access to Mr. Brown without reason

             from CCSO.

                                                       13.




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                    Eventually, Mr. Brown’s mother (hereinafter “Mother Brown”) was granted

             visitation with Mr. Brown. Mother Brown noticed that Mr. Brown looked like he

             had been involved in a physical altercation. When asked about his physical

             appearance, Mr. Brown was incoherent and was unable to articulate what had

             happened to him.


                                                       14.

                    Mother Brown and Plaintiff’s sister (hereinafter “Ms. Brown”) attempted to

             report Mr. Brown’s condition to CCSO and Jail staff. They were denied the

             opportunity to do so repeatedly.


                                                       15.

                    Finally, Mother Brown and Ms. Brown were provided with a copy of the

             videotape from the elevator showing that Mr. Brown had been assaulted by a CCSO

             employee, later identified as Defendant Fluellen.


                                                       16.

                    Defendant Fluellen wrote an incident report stating that Mr. Brown tripped

             over the elevator threshold.



                                                       17.




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                    Despite clear and convincing evidence depicted by the elevator video,

             showing Defendant Fluellen used unlawful force against Mr. Brown, Sheriff Victor

             Hill (hereinafter “Sheriff Hill”) and Defendant Fluellen’s supervisors concluded that

             Officer Fluellen’s actions did not violate any CCSO policies or procedures.

                                                       18.

                    Not until the video of the incident went viral several months later, on social

             media, was Defendant Fluellen placed on administrative leave for his actions by

             Sheriff Hill.


                                                       19.

                    Over the course of Defendant Fluellen’s tenure with CCSO, Defendant

             Fluellen has been the subject of numerous uses of force incidents while within his

             scope of employment. Despite Defendant Fluellen’s propensity for violence, Sheriff

             Hill maintained Defendant Fluellen as an employee and failed to take corrective

             measures to protect inmates in Defendant Fluellen’s custody; thus, subjecting CCSO

             inmates to potential unlawful use of force by Defendant Fluellen.




                                                       20.




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                    After an investigation was conducted by the GBI, Defendant Fluellen was

             charged with two felonies - Aggravated Battery and Violation of Oath of Office.

             Defendant Fluellen was subsequently arrested.

                                                       21.

                  The criminal proceeding against Defendant Fluellen ending on or about
             December 6, 2018.

                                                       22.

                    Mr. Brown sustained permanent scarring and injuries as a result of Defendant

             Fluellen’s malicious and sadistic acts towards him. Mr. Brown also suffers from

             severe mental anguish and severe emotional distress. Defendant Fluellen’s excessive

             force was in a direct violation of Georgia’s law.


                                             CLAIMS FOR RELIEF

                                         FIRST CLAIM FOR RELIEF
                                                 BATTERY
                                        (Defendant Fluellen For Battery)


                                                       23.

                    Plaintiff realleges and incorporates herein by reference each and every

             allegation contained in paragraphs 1 through 22 of this Complaint




                                                       24.




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             Pursuant to the Georgia Common Law, a recovery for battery requires a showing of:

                    Intentional contact with the person of another;

                    Either of an insulting or provocative nature, or causing that other person

             physical harm;

                    Which was unauthorized; and Damages.

             Ellison v. Burger King Corp., 294 Ga. App. 814, 670 S.E.2d 469 (2008).


                                                       25.

                    It is clear and that Defendant Fluellen for Battery made an intentional

             unjustifiable and unlawful harmful physical contact with the Plaintiff on the

             aforementioned date.


                                                       26.

                    Defendant Fluellen without legal justification physically assaulted the

             Plaintiff by lifting Mr. Brown from the ground and threw him into the open elevator

             causing Mr. Brown to strike the rear of the steel elevator face first. Mr. Brown was

             unable to brace for impact due to him being retrained.




                                                       27.




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                    Due to Defendant Fluellen’s intentional, unlawful, and offensive touching,

             Plaintiff Brown suffered visible lacerations to his face, lips, ankles, and wrists.

             Additionally, as a result of Defendant Fluellen’s conduct, Plaintiff Brown has

             numerous chipped and cracked teeth which will require repair. Plaintiff Brown has

             suffered substantial physical and visible bodily harm.


                        (Defendant Sheriff Liability for Battery under Respondent Superior)

                                                       28.

                    Under Georgia law, two elements must be present to render a master liable for

             his or her servant's actions under respondent superior: first, the servant must be in

             furtherance of the master's business, and, second, he or she must be acting within the

             scope of his or her master's business. Ga. Messenger Serv. v. Bradley, 311 Ga. App.

             148, 715 S.E.2d 699, 2011.


                                                       29.

                    Defendant Fluellen was acting within his scope of employment when he

             intentionally justification physically assaulted the Plaintiff by lifting Mr. Brown

             from the ground and threw him into the open elevator causing Mr. Brown to strike

             the rear of the steel elevator face first. Mr. Brown was unable to brace for impact

             due to him being retrained.


                                         SECOND CLAIM FOR RELIEF




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                                                  ASSAULT
                                              (Defendant Fluellen)

                                                       30.

                    Plaintiff realleges and incorporates herein by reference, each and every

             allegation contained in paragraphs 1 through 22 of this Complaint.


                                                       31.

                    O.C.G.A. § 16-5-20 provides that: A person commits the offense of simple

             assault when he or she either:

                    Attempts to commit a violent injury to the person of another; or

                    Commits an act which places another in reasonable apprehension of

                    immediately receiving a violent injury.


                                                       32.

                    To constitute an assault no actual injury needs to be shown, rather it is only

             necessary to show an intention to commit an injury, coupled with an apparent ability

             to do so. Wallace v. Stringer, 250 Ga. App. 850, 553 S.E.2d 166 (2001).


                                                       33.

                    Defendant Fluellen’s actions immediately preceding Plaintiff Brown hitting

             the metal elevator door, constitute an assault. Defendant Fluellen was armed with a

             taser. Defendant Fluellen without cause or legal justification, pulled out his taser and




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             aimed it directly at Plaintiff Brown. Defendant Fluellen had the intent and the ability

             to discharge his taser at Plaintiff Brown’s person at any time. Defendant Fluellen

             pointed his taser at Plaintiff Brown while Plaintiff Brown was handcuffed, dazed,

             and injured. Plaintiff Brown posed no threat to Defendant Fluellen at this time due

             to being handcuffed and substantially injured.


                                                       34.


                    Plaintiff Brown was placed in fear that he would be tased by Defendant

             Fluellen. Plaintiff Brown’s fear and apprehension were reasonable due to Defendant

             Fluellen’s previous violent, unlawful, and unjustified conduct. Plaintiff Brown was

             forced to plea with Defendant Fluellen so he would not be tased.


                        (Defendant Sheriff Liability for Assault under Respondent Superior)

                                                       35.

                    Under Georgia law, two elements must be present to render a master liable for

             his or her servant's actions under respondent superior: first, the servant must be in

             furtherance of the master's business, and, second, he or she must be acting within the

             scope of his or her master's business. Ga. Messenger Serv. v. Bradley, 311 Ga. App.

             148, 715 S.E.2d 699, 2011.


                                                       36.




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                    Defendant Fluellen was acting within his scope of employment when he

             pulled out his taser and aimed it directly at Plaintiff Brown.



                                        THIRD CLAIM FOR RELIEF

                VIOLATION OF THE PLAINTIFFS’ RIGHTS UNDER THE GEORGIA
              CONSTITUTION ART. I, SEC. I, PARA. XVII. BAIL; FINES; PUNISHMENT;
                                   ARREST, ABUSE OF PRISONERS
              (Defendant Fluellen and Defendant Sheriff Liability under Respondent Superior)

                                                       37.

                    Plaintiff realleges and incorporates herein by reference, each and every

             allegation contained in paragraphs 1 through 22 of this Complaint.


                                                       38.

                    Art. I, Sec. I, Para. XVIII of the Georgia Constitution protects the citizens of

             the State of Georgia from Excessive bail shall not be required, nor excessive fines

             imposed, nor cruel and unusual punishments inflicted; nor shall any person be

             abused in being arrested, while under arrest, or in prison.

                                                       39.

                   While detained in at the CCSO, Plaintiff was subjected to cruel and unusual
             punishments.




                                                       40.




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                    The actions of the Defendants violated the rights of the Plaintiff secured to

             him by Art. I, Sec. I, Para. XVIII of the Georgia Constitution.

                                                      41.

                    As a direct and proximate result of the Defendants’ acts and omissions, the

             Plaintiffs sustained permanent physical and psychological injuries.



                                      FOURTH CLAIM FOR RELIEF

                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
              (Defendant Fluellen and Defendant Sheriff Liability under Respondent Superior)

                                                      42.

                    Plaintiffs reallege and incorporate herein by reference each and every

             allegation contained in paragraphs 1 through 22 of this Complaint.


                                                      43.

             Under Georgia’s common law, in a cause of action for intentional infliction of

             emotional distress, a plaintiff must demonstrate that:

             (1) the conduct giving rise to the claim was intentional or reckless; (2) the conduct

             was extreme and outrageous; (3) the conduct caused emotional distress; and (4) the

             emotional distress was severe.



                                                      44.




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                    A Defendant’s conduct must be so extreme in degree, as to go beyond all

             possible bounds of decency, and to be regarded as atrocious, and utterly intolerable

             in a civilized community. Whether a claim rises to the requisite level of

             outrageousness and egregiousness to sustain a claim for intentional infliction of

             emotional distress is a question of law. Frank v. Fleet Finance Inc. of Ga., 238 Ga.

             App. 316 1999; Steed v. Federal Nat. Mtg. Corp., 301 Ga. App. 801 2009; Racette

             v. Bank of America, N. A., 318 Ga. App. 171 2012.


                                                      45.

                    Defendant Fluellen’s willful acts constitute outrageous conduct insofar as they

             have caused emotional harm to Plaintiff Brown.


                                                      46.

                    Defendant Fluellen’s intentional acts have left Plaintiff Brown traumatized,

             humiliated, and emotionally scarred. Plaintiff Brown has suffered and continues to

             suffer severe mental anguish and emotional and physical distress.


                                                      47.

                    Defendant Fluellen’s conduct was intentional. Lifting Plaintiff Brown while

             he was handcuffed and throwing him against a metal elevator door face first was

             extreme and outrageous. Plaintiff Brown posed no threat to Defendant Fluellen at

             the time of the incident and therefore Defendant Fluellen has no legal justification




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             for his conduct. Defendant Fluellen’s excessive use of force have caused Plaintiff

             Brown emotional distress. Plaintiff Brown’s emotional distress is so severe and

             extreme that Plaintiff Brown has been forced to obtained psychological treatment.

                                                     48.

                    Defendant Fluellen’s conduct is the direct and proximate cause for Plaintiff

             Brown’s past and continued severe mental anguish and emotional and physical

             distress.

                                                     49.

                    Defendant Fluellen’s conduct has exacerbated Plaintiff Brown’s preexisting

             mental illness. Defendant Fluellen’s conduct has also caused Plaintiff Brown to

             suffer from additional emotional distress, with significant PTSD type symptoms,

             including sadness, anxiety, stress, anger, depression, frustration, sleeplessness,

             nightmares and flashbacks to this horrible ordeal.


                                        FIFTH CLAIM FOR RELIEF

                                        NEGLIGENT RETENTION
                                        (Against Defendant Sheriff)

                                                     50.

                    Plaintiff realleges and incorporates herein by reference each and every

             allegation contained in paragraphs 1 through 22 of this Complaint


                                                     51.




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                    An employer has a duty to exercise ordinary care not to hire or retain an

             employee the employer knew or should have known posed a risk of harm to others

             where it is reasonably foreseeable from the employee's “tendencies” or propensities

             that the employee could cause the type of harm sustained by the plaintiff. Munroe v.

             Universal Health Servs., Inc., 277 Ga. 861, 861, 596 S.E.2d 604, 605, 2004.


                                                       52.

                    It is clear from Defendant Fluellen prior uses of force while employed at the

             CCSO, that it reasonably foreseeable that Defendant Fluellen could cause the type

             of harm sustained by the Plaintiff.

                                                       53.

                    Defendant Sheriff knowingly and willfully retained Defendant Fluellen as a

             deputy although he displayed through his acts and omission that he had a complete

             disregard for the rules and policies set forth at the CCSO.


                                                       54.

                    As a direct result of Defendants’ action, Plaintiff has suffered actual physical

             and emotional injuries, and other damages and losses as described herein entitling

             him to compensatory and special damages, in amounts to be determined at trial. As

             a further result of the Defendants’ unlawful conduct, Plaintiff has incurred special

             damages, including medically related expenses and may continue to incur further




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             medically or other special damages related expenses, in amounts to be established at

             trial.


                                             PRAYER FOR RELIEF

             Plaintiff prays that this Court enter judgment for the Plaintiff and against each of

             the Defendants and grant:

                 a. compensatory and consequential damages, including damages for emotional

                      distress, humiliation, loss of enjoyment of life, and other pain and suffering

                      on all claims allowed by law in an amount to be determined at trial;

                 b. economic losses on all claims allowed by law;

                 c. special damages in an amount to be determined at trial;

                 d. punitive damages on all claims allowed by law against individual

                      Defendants and in an amount to be determined at trial;

                 e. pre- and post-judgment interest at the lawful rate; and,

                 f. any further relief that this court deems just and proper, and any other

                      appropriate relief a law and equity.



                 Respectfully submitted the 2nd day of October 2020




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                                                      /s/Harry M. Daniels
                                                      Harry M. Daniels
                                                      Ga Bar No. 234158


                                                      /s/Khalil C. Eaddy
                                                      Khalil Eaddy
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